432 F.2d 1234
    OLIN MATHIESON CHEMICAL CORPORATION et al., Plaintiffs-Appellants-Cross-Appellees,v.UNITED STEVEDORING DIVISION, STATES MARINE LINES, INC., Defendant-Appellee-Cross-Appellant.
    No. 29312.
    United States Court of Appeals, Fifth Circuit.
    October 27, 1970.
    Rehearing Denied November 27, 1970.
    
      Appeals from the United States District Court for the Southern District of Texas at Houston; Woodrow B. Seals, Judge.
      B. D. McKinney, Houston, Tex., Joseph D. Cheavens, Houston, Tex., for plaintiffs-appellants-cross-appellees; Baker, Botts, Shepherd &amp; Coates, Houston, Tex., of counsel.
      Ben L. Reynolds, E. D. Vickery, Houston, Tex., Royston, Rayzor &amp; Cook, Houston, Tex., of counsel, for defendant-appellee-cross-appellant.
      Before GEWIN, MORGAN and ADAMS,* Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal involves a suit by Olin Mathieson Chemical Corporation and its subsidiary, Nilo Barge Lines (the barge owner), against its stevedoring contractor, United Stevedoring Division of United States Marine Lines, Inc. (the stevedore), for indemnity arising out of injuries sustained by the stevedore's walking foreman. The foreman slipped and fell on the oil slick floor of the barge's engine room as he was undertaking to start an engine to close a hatch cover. The barge owner settled the foreman's claim in a separate suit in the state court for an agreed sum over and above the compensation lien.
    
    
      2
      The district court concluded that the conduct of the appellant barge owner was of such a nature as to preclude recovery of indemnity from the stevedore, even though the foreman breached the stevedore's warranty of workmanlike service. 317 F.Supp. 1373 (N.D.Tex.1970). After careful consideration of the contentions of the parties, it is our opinion that the barge owner has failed to demonstrate to us that the findings of fact by the district court are clearly erroneous or that the conclusions of law based upon such findings are impermissible.
    
    
      3
      The judgment is affirmed.
    
    
      
        Notes:
      
      
        *
         Of the Third Circuit, sitting by designation
      
    
    